                   UNITED STATES DISTRICT COURT
                           Eastern District of Wisconsin




                   THE ATTACHED PLEADINGS HAVE BEEN
                         REMOVED PURSUANT TO
                            FED. R. CIV. P. 5(d)



Rule 5.      Serving and Filing Pleadings and Other Papers

     (d)     Filing.

             (1)    Required Filings; Certificate of Service. Any paper after the
                    complaint that is required to be served—together with a
                    certificate of service—must be filed within a reasonable time after
                    service. But disclosures under Rule 26(a)(1) or (2) and the
                    following discovery requests and responses must not be filed until
                    they are used in the proceeding or the court orders filing:
                    depositions, interrogatories, requests for documents or tangible
                    things or to permit entry onto land, and requests for admission.




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